UNITED EE tT COURT
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FILED

 

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UNITED STATES OF AMERICA. 2 ¢
CLERK oF CEaqeINo.: 20 -CR-0 5U
Plaintiff,
Vv. [21 U.S.C. §§ 841(a)(1), (b)(1)(A),

(b)(1)(B), (b)(1)(C), 860(a) and 846;
18 U.S.C. §§ 922(g)(1), 924(a)(2), 924:
(c)(1)(A)Q), 196(a,A BIO, 19560),
and 2]
DAVID QUINONES-QUINONES,
a/k/a “Davo,”
DAVID JOEL QUINONES-RIOS,
a/k/a “Davito,” “Gordito,” “Gordo,”

_ ,ROBERTO ORENCH-FELICIANO,

a/k/a “Kendo,” “Kendo Kaponi,”
CARLOS OMAR CONCEPCION-RIVERA,
a/k/a “Omy,”
YASHIRA JEHOVALIS CORTES-NIEVES,
JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”
HECTOR YAMIL RODRIGUEZ-RODRIGUEZ,
a/k/a “Yamil,”
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”
VLADIMIR RODRIGUEZ-RODRIGUEZ,
a/k/a “Vlado,”
STEVEN CORTES-IRIZARRY,
a/k/a “Tufo,”
KEVEN TORRES-BONILLA,
ANDROS MARTINEZ-PELLOT,
ERIC ROSA,
a/k/a “Erico,”
JOSE M. AVILES-GONZALEZ
a/k/a “Josema,”
YADIER ROSARIO,
ALEXANDER MORALES-RIVERA,
a/k/a “Robert,”
ENID MARTINEZ,
KEISHLA M. ORENCH-FELICIANO,

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RICARDO BONILLA,
a/k/a “Ricky,”
KADEJA LEWIS,
a/k/a “Morena,”
JULIO RIVERA-RAMIREZ,
a/k/a “Macho,”
RAFAEL RIVERA-HERNANDEZ,
a/k/a “Rafa,”
JOMAR LABOY-SILVA,
a/k/a “Yomo,”
JULIO SEDA-MARTINEZ
a/k/a “Bebo,” “Bebe,”
JOSE BURGOS-RIVERA,
a/k/a “Chino,” and
WILBERTO SANTIAGO-MARTINEZ,
a/k/a “Willy,”

Defendants.

 

INDICTMENT

 

COUNT ONE
THE GRAND JURY CHARGES THAT:
1. Beginning by at least September 2018, and continuing until on or about
January 15, 2020, in the State and Eastern District of Wisconsin and elsewhere,

DAVID QUINONES-QUINONES,
a/k/a “Davo,”

DAVID JOEL QUINONES-RIOS,
a/k/a “Davito,” “Gordito,” “Gordo,”
ROBERTO ORENCH-FELICIANO,

a/k/a “Kendo,” “Kendo Kaponi,”
CARLOS OMAR CONCEPCION-RIVERA,
a/k/a “Omy,”

YASHIRA JEHOVALIS CORTES-NIEVES,
JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”

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HECTOR YAMIL RODRIGUEZ-RODRIGUEZ,
a/k/a “Yamil,”

MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”
VLADIMIR RODRIGUEZ-RODRIGUEZ,
a/k/a “Vlado,”

STEVEN CORTES-IRIZARRY,
a/k/a “Tufo,”

KEVEN TORRES-BONILLA,
ANDROS MARTINEZ-PELLOT,
ERIC ROSA,

a/k/a “Erico,”

JOSE M. AVILES-GONZALEZ
a/k/a “Josema,”

YADIER ROSARIO,
ALEXANDER MORALES-RIVERA,
a/k/a “Robert,”

ENID MARTINEZ,
KEISHLA M. ORENCH-FELICIANO,
RICARDO BONILLA,

a/k/a “Ricky,”

KADEJA LEWIS,

a/k/a “Morena,”

JULIO RIVERA-RA MIREZ,
a/k/a “Macho,”

RAFAEL RIVERA-HERNANDEZ,
a/k/a “Rafa,”

JOMAR LABOY-SILVA,

a/k/a “Yomo,”

JULIO SEDA-MARTINEZ
a/k/a “Bebo,” “Bebe,”

JOSE BURGOS-RIVERA,

a/k/a “Chino,” and
WILBERTO SANTIAGO-MARTINEZ,
a/k/a “Willy,”

knowingly and intentionally conspired with each other, and with other persons known and

unknown to the grand jury, to possess with the intent to distribute and to distribute a

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mixture and substance containing a detectable amount of a controlled substance, in
violation of Title 21, United States Code, Section 841(a)(1).

2. With respect to defendants DAVID QUINONES-QUINONES, a/k/a
“Davo,” DAVID JOEL QUINONES-RIOS, a/k/a “Davito,” “Gordito,” “Gordo,”
ROBERTO ORENCH-FELICIANO, a/k/a “Kendo,” “Kendo Kaponi,” CARLOS OMAR
CONCEPCION-RIVERA, a/k/a “Omy,” YASHIRA JEHOVALIS CORTES-NIEVES,
JOSE MANUEL GONZALEZ-COLLADO, a/k/a “Cheito,” “Gordo,” HECTOR YAMIL
RODRIGUEZ-RODRIGUEZ, a/k/a “Yamil,” MARCOS APONTE-LEBRON, a/k/a
“Viejo,” “Kiko,” VLADIMIR RODRIGUEZ-RODRIGUEZ, a/k/a “Vlado,” STEVEN
CORTES-IRIZARRY, a/k/a “Tufo,” KEVEN TORRES-BONILLA, ANDROS
MARTINEZ-PELLOT, ERIC ROSA, a/k/a “Erico,” JOSE M. AVILES-GONZALEZ,
a/k/a “Josema,” YADIER ROSARIO, ALEXANDER MORALES-RIVERA, a/k/a
“Robert,” ENID MARTINEZ, KEISHLA M. ORENCH-FELICIANO, and RICARDO
BONILLA, a/k/a “Ricky,” the amount involved in the conspiracy attributable to each
defendant as a result of his or her own conduct, and the conduct of other co-conspirators
reasonably foreseeable to him or her, is five kilograms or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance.

3. With respect to defendants KADEJA LEWIS, a/k/a “Morena,” JULIO
RIVERA-RAMIREZ, a/k/a “Macho,” RAFAEL RIVERA-HERNANDEZ, a/k/a “Rafa,”
JOMAR LABOY-SILVA, a/k/a “Yomo,” and JULIO SEDA-MARTINEZ, a/k/a “Bebo,”

“Bebe,” the amount involved in the conspiracy attributable to each defendant as a result of

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his or her own conduct, and the conduct of other co-conspirators reasonably foreseeable to
him or her, is 500 grams or more of a mixture and substance containing detectable amount
of cocaine, a Schedule II controlled substance.

4. With respect to defendants JOSE BURGOS-RIVERA, a/k/a “Chino,” and
WILBERTO SANTIAGO-MARTINEZ, a/k/a “Willy,” the amount involved in the
conspiracy attributable to him as a result of his own conduct, and the conduct of other co-
conspirators reasonably foreseeable to him, is a mixture and substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 846 and 841(b)(1)(A),

(b)(1)(B), and (b)(1)(C), and Title 18, United States Code, Section 2.

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COUNT TWO
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin and

elsewhere,

ROBERTO ORENCH-FELICIANO,
a/k/a “Kendo,” “Kendo Kaponi,”

knowingly possessed four firearms in furtherance of the drug trafficking offense charged
in Count One of this Indictment, to wit:

1. Glock pistol, model 26, bearing serial number VHA326;

2. Glock pistol, model 19, bearing serial number ZUD720;

3. Glock pistol, model 19, bearing serial number BB WP434; and

4. Glock pistol, model 33, bearing serial number NUC385.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)().

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COUNT THREE
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin and

elsewhere,

DAVID QUINONES-QUINONES,
a/k/a “Davo,”

knowingly possessed a firearm in furtherance of the drug trafficking offense charged in
Count One of this Indictment, to wit: a Glock pistol, model 29, bearing serial number
FNY562.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT FOUR
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin and
elsewhere,

RAFAEL RIVERA-HERNANDEZ,
a/k/a “Rafa,”

knowingly possessed a firearm in furtherance of the drug trafficking offense charged in
Count One of this Indictment, to wit: a Taurus, model PT111 G2, 9mm pistol, bearing
serial number TK Y01057.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT FIVE
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin and
elsewhere,

JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”

knowingly possessed two firearms in furtherance of the drug trafficking offense charged
in Count One of this Indictment, to wit:

1. A Glock, model 19, 9mm pistol, bearing serial number BFNC201; and

2. A Glock, model 27, .40 caliber pistol, bearing serial number NWRS594.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)Q).

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COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

On or about January 15, 2020, in the State and Eastern District of Wisconsin and

elsewhere,

MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”

knowingly possessed eight firearms in furtherance of the drug trafficking offense charged

in Count One of this Indictment, to wit:

1.

2.

7.

8.

Glock, model 23, .40 caliber pistol, bearing serial number BGXZ415;

Smith & Wesson, model 1076, 10mm pistol, bearing serial number TFS4692;
Bersa, model Mini Firestorm, .40 caliber pistol, bearing serial number
551491;

Smith & Wesson, model SD9VE, 9mm pistol, bearing serial number
HEY0448;

Smith & Wesson, model SW40VE, .40 caliber pistol, bearing serial number
DYF9338;

Smith & Wesson, model SD9VE, 9mm pistol, bearing serial number
FZRO0018;

Ruger, model LC-9, 9mm pistol, bearing serial number 322-4669; and

Glock, model 22, .40 caliber pistol, bearing serial number XPB172.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT SEVEN
THE GRAND JURY FURTHER CHARGES THAT:
From on or about September 2018 through January 15, 2020, in the State and

Eastern District of Wisconsin and elsewhere,

DAVID JOEL QUINONES-RIOS,
a/k/a “Davito,” “Gordito,” “Gordo,”
ROBERTO ORENCH-FELICIANO,

a/k/a “Kendo,” “Kendo Kaponi,”
CARLOS OMAR CONCEPCION-RIVERA,
a/k/a “Omy,”

YASHIRA JEHOVALIS CORTES-NIEVES,
JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”
HECTOR YAMIL RODRIGUEZ-RODRIGUEZ,
a/k/a “Yamil,”

MARCOS APONTE-LEBRON,

a/k/a “Viejo,” “Kiko,”
VLADIMIR RODRIGUEZ-RODRIGUEZ,
a/k/a “Vlado,”

STEVEN CORTES-IRIZARRY,

a/k/a “Tufo,”

ENID MARTINEZ and
JULIO SEDA-MARTINEZ,

a/k/a “Bebo,” “Bebe,”

knowingly combined, conspired, and agreed with each other and with other persons known
and unknown to the grand jury to commit offenses against the United States in violation of
Title 18, United States Code, Section 1956, to wit: to knowingly conduct and attempt to
conduct financial transactions affecting interstate and foreign commerce, which
transactions involved the proceeds of specified unlawful activity, that is, drug trafficking
as charged in Count One, knowing that the transactions were designed in whole and in part

to conceal and disguise the nature, location, source, ownership, and control of the proceeds

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of specified unlawful activity, and knowing that the property involved in the financial
transactions represented the proceeds of some form of unlawful activity, in violation of
Title 18, United States Code, Section 1956(a)(1)(B)(i).

In violation of Title 18, United States Code, Section 1956(h).

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COUNTS EIGHT THROUGH TWELVE
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about the following dates, in the State and Eastern District of Wisconsin,

the identified defendants knowingly and intentionally distributed a controlled substance:

 

COUNT DEFENDANT DATE
8 ERIC ROSA, December 6, 2018
a/k/a “Erico,”
WILBERTO SANTIAGO-MARTINEZ,
a/k/a “Willy”

9 ERIC ROSA, December 20, 2018
a/k/a “Erico,”
WILBERTO SANTIAGO-MARTINEZ,
a/k/a “Willy”

10 ERIC ROSA, January 10, 2019
a/k/a “Erico,”

JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo”

11 ERIC ROSA, January 16, 2019
a/k/a “Erico,”

JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo”

12 ERIC ROSA, January 31, 2019
a/k/a “Erico,”

JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo”

 

 

 

 

 

 

 

 

 

 

2. Each offense involved a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance.
Each in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C), and Title 18, United States Code, Section 2.

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COUNTS THIRTEEN THROUGH EIGHTEEN
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about the following dates, in the State and Eastern District of

Wisconsin, the identified defendant knowingly and intentionally distributed a controlled

 

 

 

 

 

 

 

 

 

 

 

 

substance:
COUNT DEFENDANT DATE

13 ERIC ROSA, February 22, 2019
a/k/a “Erico”

14 ERIC ROSA, March 12, 2019

a/k/a “Erico”

15 ERIC ROSA, March 28, 2019
a/k/a “Erico”

16 ERIC ROSA, April 17, 2019
a/k/a “Erico”

17 ERIC ROSA, August 1, 2019
a/k/a “Erico”

18 ERIC ROSA, October 3, 2019
a/k/a “Erico”

2. Each offense involved a mixture and substance containing a detectable

amount of heroin, a Schedule I controlled substance and cocaine, a Schedule II controlled
substance.
Each in violation of Title 21, United States Code, Sections 846, 841(a)(1), and

841(b)(1)(C).

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COUNTS NINETEEN AND TWENTY
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about the following dates, in the State and Eastern District of

Wisconsin, the defendant knowingly and intentionally distributed controlled substances:

 

 

 

 

COUNT DEFENDANT DATE
19 ERIC ROSA, May 8, 2019
a/k/a “Erico”
20 ERIC ROSA, September 5, 2019
a/k/a “Erico”

 

 

 

 

2. Each offense involved a mixture and substance containing a detectable
amount of cocaine and fentanyl, Schedule II controlled substances.

Each in violation of Title 21, United States Code, Sections 846, 841(a)(1), and

841(b)(1)(C).

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COUNTS TWENTY-ONE AND TWENTY-TWO
THE GRAND JURY FURTHER CHARGES THAT:
1. Onor about the following dates, in the State and Eastern District of Wisconsin,

the defendant knowingly and intentionally distributed controlled substances:

 

 

 

 

COUNT DEFENDANT DATE
21 ERIC ROSA, June 5, 2019
a/k/a “Erico”
22 ERIC ROSA, June 21, 2019
a/k/a “Erico”

 

 

 

 

2. Each offense involved a mixture and substance containing a detectable
amount of cocaine and fentanyl, Schedule IJ controlled substances.

3. Each offense involved 40 grams or more of a mixture and substance
containing a detectable amount of fentanyl, a Schedule IJ controlled substances.

Each in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B), and Title 18, United States Code, Section 2.

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COUNTS TWENTY-THREE THROUGH TWENTY-SIX
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about the following dates, in the State and Eastern District of Wisconsin,

the identified defendant knowingly and intentionally distributed a controlled substance:

 

 

 

 

 

 

 

 

 

 

COUNT DEFENDANT DATE
23 ANDROS MARTINEZ-PELLOT June 11, 2019
24 ANDROS MARTINEZ-PELLOT June 19, 2019
25 ANDROS MARTINEZ-PELLOT July 2, 2019
26 ANDROS MARTINEZ-PELLOT July 18, 2019
2. Each offense involved a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance.
Each in violation of Title 21, United States Code, Sections 841(a)(1), and

841(b)(1)(C).

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COUNTS TWENTY-SEVEN THROUGH THIRTY
THE GRAND JURY FURTHER CHARGES THAT:
l. On or about the following dates, in the State and Eastern District of Wisconsin,
the identified defendants knowingly and intentionally attempted to distribute and to possess

with intent to distribute a controlled substance:

 

 

COUNT DEFENDANT DATE
27 JOSE MANUEL GONZALEZ-COLLADO, June 22-June 24,
a/k/a “Cheito,” “Gordo,” 2019

MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”
ERIC ROSA,

a/k/a “Erico,”
KADEJA LEWIS,

a/k/a “Morena”

28 JOSE MANUEL GONZALEZ-COLLADO, June 29-July 3,

a/k/a “Cheito,” “Gordo,” 2019
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”
ERIC ROSA,

a/k/a “Erico,”
KADEJA LEWIS,
a/k/a “Morena”

29 JOSE MANUEL GONZALEZ-COLLADO, August 1, 2019
a/k/a “Cheito,” “Gordo,”
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”
ERIC ROSA,

a/k/a “Erico,”
KADEJA LEWIS,

a/k/a “Morena,”

30 JOSE MANUEL GONZALEZ-COLLADO, November 29,

a/k/a “Cheito,” “Gordo,” 2019
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”
ERIC ROSA,

a/k/a “Erico,”
KADEJA LEWIS,
a/k/a “Morena,”

 

 

 

 

 

 

 

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2. Each offense involved 500 grams or more of a mixture and substance containing
a detectable amount of cocaine, a Schedule II controlled substance.
Each in violation of Title 21, United States Code, Sections 846, 841(a)(1), and

841(b)(1)(B), and Title 18, United States Code, Section 2.

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COUNT THIRTY-ONE
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,
KEVEN TORRES-BONILLA

knowingly and intentionally possessed with intent to deliver a controlled substance.

2. The offense involved a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C), and Title 18, United States Code, Section 2.

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COUNT THIRTY-TWO
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin
KEVEN TORRES-BONILLA
knowingly possessed four firearms in furtherance of the drug trafficking offense charged

in Count Thirty-One of this Indictment, to wit:

1. A Romarm/Cugir, model Micro Draco, 7.62 caliber pistol, bearing serial
number PMD-13106-19;

2. A Glock, model 19, 9mm pistol, bearing serial number BGRE376;

3. A Glock, model 20, 10mm pistol, bearing serial number BLEB698; and

4. A Glock, model 41, Smm pistol, bearing serial number WMA309.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)().

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COUNT THIRTY-THREE
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,
YADIER ROSARIO
knowingly and intentionally possessed with intent to distribute a controlled substance.

2. The offense involved more than 5 grams of marijuana, a Schedule I
controlled substance, within 1,000 feet of the real property comprising the Alexander
Mitchell Integrated Arts School, a public elementary and middle school.

3. The offense involved a mixture and substance containing cocaine base, also
known as “crack,” a Schedule II controlled substance, within 1,000 feet of the real property
comprising the Alexander Mitchell Integrated Arts School, a public elementary and middle
school.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

and 860(a), and Title 18, United States Code, Section 2.

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COUNT THIRTY-FOUR
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin,
YADIER ROSARIO
knowingly possessed a firearm in furtherance of the drug trafficking offense charged in
Count Thirty-Three of this Indictment, to wit: a Glock, model 19, 9mm pistol, bearing
serial number BERRS29.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT THIRTY-FIVE
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,
ANDROS MARTINEZ-PELLOT

knowingly and intentionally possessed with intent to distribute a controlled substance.

2. The offense involved a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).

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COUNT THIRTY-SIX
THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin,
ANDROS MARTINEZ-PELLOT
knowingly possessed a firearm in furtherance of the drug trafficking offense charged in
Count Thirty-Five of this Indictment, to wit: a Glock, model 23, .40 caliber pistol, bearing
serial number GGLO14.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT THIRTY-SEVEN
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,

JOSE M. AVILES-GONZALEZ,
a/k/a “Josema,”

knowingly and intentionally possessed with intent to distribute controlled substances.

2. The offense involved a mixture and substance containing a detectable
amount of cocaine, a Schedule IT controlled substance.

3. The offense involved 100 grams or more of a mixture and substance
containing a detectable amount of heroin, a Schedule I controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)B),

and 841(b)(1)(C).

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COUNT THIRTY-EIGHT

 

THE GRAND JURY FURTHER CHARGES THAT:
On or about January 15, 2020, in the State and Eastern District of Wisconsin,

JOSE M. AVILES-GONZALEZ,
a/k/a “Josema,”

knowingly possessed five firearms in furtherance of the drug trafficking offense charged
in Count Thirty-Seven of this Indictment, to wit:
1. Wisconsin Tactical LLC, model WTR-15 ZZ, rifle, bearing serial number
00068; and
2. Mossberg, unknown model, .22 caliber rifle, bearing serial number
EMK3994771.

All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT THIRTY-NINE

 

THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,
JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,” and
ENID MARTINEZ

knowingly and intentionally possessed with intent to deliver a controlled substance.

2. The offense involved 500 grams or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B), and Title 18, United States Code, Section 2.

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COUNT FORTY
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,
JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,” and
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,”

knowingly and intentionally possessed with intent to deliver a controlled substance.

2. The offense involved five kilograms or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A), and Title 18, United States Code, Section 2.

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COUNT FORTY-ONE
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,

WILBERTO SANTIAGO-MARTINEZ,
a/k/a “Willy,”

knowing he previously had been convicted of a crime punishable by imprisonment for a
term exceeding one year, knowingly possessed firearms which, prior to his possession of
them, had been transported in interstate commerce, the possession of which was therefore
in and affecting commerce.

2. The firearms are more fully described as a Taurus, model PT111 G2A, 9mm
pistol, bearing serial number TMC17344, and a Smith & Wesson, model 28, .357 caliber
pistol, bearing serial number $2903 10.

All in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

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COUNT FORTY-TWO
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 15, 2020, in the State and Eastern District of Wisconsin,

JOSE GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”

knowingly and intentionally possessed with intent to distribute a controlled substance.

2. The offense involved 28 grams or more of a mixture and substance
containing cocaine base, also known as “crack,” a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B).

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COUNT FORTY-THREE
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 16, 2020, in the State and Eastern District of Wisconsin,
JOSE MANUEL GONZALEZ-COLLADO,
a/k/a “Cheito,” “Gordo,”
MARCOS APONTE-LEBRON,
a/k/a “Viejo,” “Kiko,” and
ENID MARTINEZ
knowingly and intentionally possessed with intent to distribute a controlled substances.
2. The offense involved five kilograms or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance.
3, The offense involved 400 grams or more of a mixture and substance
containing a detectable amount of fentanyl, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A), and Title 18, United States Code, Section 2.

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COUNT FORTY-FOUR
THE GRAND JURY FURTHER CHARGES THAT:
1. On or about January 20, 2020, in the State and Eastern District of Wisconsin,
KEVEN TORRES-BONILLA

knowingly and intentionally possessed with intent to distribute a controlled substance.

2. The offense involved a mixture and substance containing a detectable
amount of heroin, a Schedule I controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).

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FORFEITURE NOTICE

1. Upon conviction of one or more offenses in violation of Title 21, United

States Code, Sections 841 and 846, the defendant or defendants shall forfeit to the United

States pursuant to Title 21 United States Code, Section 853, any and all property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the

violations and any and all property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the violations, including but not limited to the

following::

a.

Approximately $10,400 in United States currency seized from United States Postal
Service (USPS) Priority Mail parcel 95055124603293 16251258, addressed to PO
Box 5XX, San Antonio, Puerto Rico, on or about November 18, 2019;

Approximately $30,080 in United States currency seized from USPS Priority Mail
parcel 9505510975370013275323, addressed to 3XXX W. Whitmore Avenue,
Modesto, California, on or about January 24, 2020;

Approximately $18,920 in United States currency seized from USPS Priority Mail
parcel 9505512338110011158254, addressed to HC 2 Box 8XXX Barrio Maravilla
Norte, Las Marias, Puerto Rico, on or about January 24, 2020;

Approximately $25,000 in United States currency seized from USPS Priority Mail
parcel 9505515217010008154360, addressed to HC 01 Box 7X XX, Hormigueros,
Puerto Rico, on or about January 24, 2020;

Approximately $16,000 in United States currency seized from USPS Priority Mail
parcel 9505515217020013131997, addressed to HC 02 7XXX, Hormigueros,
Puerto Rico, on or about January 24, 2020;

Approximately $27,000 in United States currency seized from USPS Priority Mail
parcel 9505515441780010459061, addressed to 3XX°X Mar Verde, Mission, Texas,
on or about January 24, 2020;

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A Taurus, model PT111 G2A, 9mm pistol, bearing serial number TMC17344, and
approximately 22 rounds of ammunition seized from the residence of WILBERTO
SANTIAGO-MARTINEZ located at 2XXX N. 16" Street, Milwaukee, Wisconsin,
on or about January 15, 2020;

A Smith & Wesson, model 28, .357 caliber pistol, bearing serial number $290310,
and approximately 6 rounds of ammunition seized from the residence of
WILBERTO SANTIAGO-MARTINEZ located at 2XXX N. 16" Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

A SCCY Industries, model CPX-1, 9mm pistol, bearing serial number 803862, and
approximately 8 rounds of ammunition seized from the residence of ALEXANDER
MORALES-RIVERA located at 1XXX W. Scott Street, Milwaukee, Wisconsin, on
or about January 15, 2020;

A Smith & Wesson, model SD9VE, 9mm pistol, bearing serial number FZF4043,
and approximately 15 rounds of ammunition seized from the residence of
ALEXANDER MORALES-RIVERA located at IXXX W. Scott Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

A Romarm/Cugir, model Micro Draco, 7.62 caliber pistol, bearing serial number
PMD-13106-19, and approximately 99 rounds of ammunition seized from the
residence of KEVIN TORRES-BONILLA located at 8XXX W. Beloit Road, West
Allis, Wisconsin, on or about January 15, 2020;

A unknown manufacturer drum magazine, 7.62 caliber, seized from the residence
located of KEVEN TORRES-BONILLA at 8XXX W. Beloit Road, West Allis,
Wisconsin, on or about January 15, 2020;

A unknown manufacturer M16/M14 100 round drum magazine, 5.56 caliber, seized
from the residence of KEVEN TORRES-BONILLA located at 8XXX W. Beloit
Road, West Allis, Wisconsin, on or about January 15, 2020;

Three Glock gun boxes with various magazines, seized from the residence of
KEVEN TORRES-BONILLA located at 8XXX W. Beloit Road, West Allis,
Wisconsin, on or about January 15, 2020;

A Glock, model 19, 9mm pistol, bearing serial number BGRE376, and
approximately 224 rounds of assorted ammunition seized from the residence of
KEVEN TORRES-BONILLA located at 8XXX W. Beloit Road, West Allis,
Wisconsin, on or about January 15, 2020;

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Approximately 27 rounds of .40 caliber ammunition seized from the residence of
KEVEN TORRES-BONILLA located at 8XXX W. Beloit Road, West Allis,
Wisconsin, on or about January 15, 2020;

Approximately 12 rounds of .45 caliber ammunition seized from the residence of
KEVEN TORRES-BONILLA located at 8XXX W. Beloit Road, West Allis,
Wisconsin, on or about January 15, 2020;

Seven assorted magazines, seized from the residence of KEVEN TORRES-
BONILLA located at 8X XX W. Beloit Road, West Allis, Wisconsin, on or about
January 15, 2020;

A Glock, model 20, 10mm pistol, bearing serial number BLEB698, and
approximately 10 rounds of ammunition seized from the residence of KEVEN
TORRES-BONILLA located at 8X XX W. Beloit Road, West Allis, Wisconsin, on
or about January 15, 2020;

A Glock, model 41, 9mm pistol, bearing serial number WMA309, and
approximately 12 rounds of ammunition seized from the residence of KEVEN
TORRES-BONILLA located at 8X XX W. Beloit Road, West Allis, Wisconsin, on
or about January 15, 2020;

An Anderson Manufacturing, model AM-15, multi-caliber rifle, bearing serial
number 18242053, and approximately 150 rounds of ammunition seized from
storage unit 4510 rented by VLADIMIR RODRIGUEZ-RODRIGUEZ located at
4XXX W. Burnham Street, Milwaukee, Wisconsin, on or about January 15, 2020;

Three assorted magazines, seized from the storage unit 4510 rented by VLADIMIR

RODRIGUEZ-RODRIGUEZ located at 4X XX W. Burnham Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

A Glock, model 19, 9mm pistol, bearing serial number BKRR529, and
approximately 19 rounds of ammunition seized from the residence of YADIER
ROSARIO located at 2X XX W. Maple Street, Milwaukee, Wisconsin, on or about
January 15, 2020;

A Glock, model 23, .40 caliber pistol, bearing serial number BBTE855, seized from
the business associated with ANDROS MARTINEZ-PELLOT located at 7XXX W.
Fond Du Lac Avenue, Milwaukee, Wisconsin, on or about January 15, 2020;

A Taurus, model PT111 G2, 9mm pistol, bearing serial number TK Y01057, and
approximately 24 rounds of ammunition seized from the residence of RAFAEL

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RIVERA-HERNANDEZ located at 2XXX S. 14" Street, Milwaukee, Wisconsin,
on or about January 15, 2020;

A Glock, model 23, .40 caliber pistol, bearing serial number VZR419, and
approximately 126 rounds of assorted ammunition seized from the residence of
ANDROS MARTINEZ-PELLOT located at NXX WXXXXX Main Street,
Menomonee Falls, Wisconsin, on or about January 15, 2020;

A Glock, model 42, .380 caliber pistol, bearing serial number ABCP646, seized
from the residence of ANDROS MARTINEZ-PELLOT located at NXX WXXXXX
Main Street, Menomonee Falls, Wisconsin, on or about January 15, 2020;

A Glock ten (10) round magazine, .40 caliber, seized from the residence of
ANDROS MARTINEZ-PELLOT located at NXX WXXXXX Main Street,
Menomonee Falls, Wisconsin, on or about January 15, 2020;

Ten (10) assorted firearms magazines, seized from the residence of ANDROS
MARTINEZ-PELLOT located at NXX WXXXXX Main Street, Menomonee Falls,
Wisconsin, on or about January 15, 2020;

A Glock, model 22, .40 caliber pistol, bearing serial number DTZ072US, and
approximately 16 rounds of ammunition seized from the residence connected to
ANDROS MARTINEZ-PELLOT located at 1XXX S. 9" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

A Glock, model 23, .40 caliber pistol, bearing serial number BGXZ415, and
approximately 30 rounds of ammunition seized from the residence located at
2XXXX S. 13% Street, Milwaukee, Wisconsin, on or about January 15, 2020;

A Smith & Wesson, model 1076, 10mm pistol, bearing serial number TFS4692,
seized from the residence located at 2XXXX S. 13" Street, Milwaukee, Wisconsin,
on or about January 15, 2020;

Approximately 152 rounds of assorted caliber ammunition seized from the
residence of MARCOS APONTE-LEBRON and ENID MARTINEZ located at
2XXXX S 13 Street, Milwaukee, Wisconsin, on or about January 15, 2020;

A Glock 22 round magazine, .40 caliber, seized from the residence of MARCOS
APONTE-LEBRON and ENID MARTINEZ located at 2XXXX S. 13" Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

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Approximately 197 rounds of .45 caliber ammunition seized from the residence of
MARCOS APONTE-LEBRON and ENID MARTINEZ located at 2XXXX S. 13%
Street, Milwaukee, Wisconsin, on or about January 15, 2020;

A Bersa, model Mini Firestorm, .40 caliber pistol, bearing serial number 551491,
and approximately 9 rounds of ammunition seized from the residence of MARCOS
APONTE-LEBRON and ENID MARTINEZ located at 2XXXX S. 13" Street,

Milwaukee, Wisconsin, on or about January 15, 2020;

A Smith & Wesson, model SD9VE, 9mm pistol, bearing serial number HEY0448,
and approximately 48 rounds of ammunition seized from the residence of MARCOS
APONTE-LEBRON and ENID MARTINEZ located at 2XXXX S. 13" Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

A Smith & Wesson, model SW40VE, .40 caliber pistol, bearing serial number
DYF9338, seized from the residence of MARCOS APONTE-LEBRON and ENID
MARTINEZ located at 2XXXX S. 13" Street, Milwaukee, Wisconsin, on or about
January 15, 2020;

A Smith & Wesson, model SD9VE, 9mm pistol, bearing serial number FZRO0018,
seized from the residence of MARCOS APONTE-LEBRON and ENID
MARTINEZ located at 2XXXX S. 13" Street, Milwaukee, Wisconsin, on or about
January 15, 2020;

A Wisconsin Tactical LLC, model WTR-15 ZZ, rifle, bearing serial number 00068,
and approximately 168 rounds of assorted ammunition seized from the residence of
JOSE M. AVILES-GONZALEZ located at 1XXX S. 6 Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

A Mossberg, unknown model, 22 caliber rifle, bearing serial number EMK3994771,
seized from the residence located at 1XXX S. 6" Street, Milwaukee, Wisconsin, on
or about January 15, 2020;

Approximately 10 rounds of .40 caliber ammunition seized from the residence of
JOSE M. AVILES-GONZALEZ located at 1XXX S. 6" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

Seven assorted firearms magazines, seized from the residence of JOSE M. AVILES-
GONZALEZ located at 1XXX S. 6" Street, Milwaukee, Wisconsin, on or about
January 15, 2020;

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A Glock, model 23, .40 caliber pistol, bearing serial number GGLO14, and
approximately 25 rounds of ammunition seized from the residence located at 5X XX
N. 58" Street, Milwaukee, Wisconsin, on or about J anuary 15, 2020;

Approximately 12 rounds of assorted caliber ammunition seized from the residence
of ANDROS MARTINEZ-PELLOT located at 5XXX N. 58" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

An extended Glock magazine, seized from the residence of ANDROS MARTINEZ-
PELLOT located at 5XXX N. 58" Street, Milwaukee, Wisconsin, on or about
January 15, 2020;

A American Gun Company LLC, unknown model, caliber, and serial number,

seized from the residence of ALEXANDER MORALES-RIVERA located at 9XX
W. Walker Street, Milwaukee, Wisconsin, on or about January 15, 2020;

A Ruger, model AR556, 5.56 caliber rifle, bearing serial number 855-76542, and
approximately 30 rounds of ammunition seized from the residence of
ALEXANDER MORALES-RIVERA located at 9XX W. Walker Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

A Smith & Wesson, model SD9VE, 9mm pistol, bearing serial number FZE3863,
and approximately 15 rounds of ammunition seized from the residence of
ALEXANDER MORALES-RIVERA located at 9XX W. Walker Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

A HiPoint, model C9, 9mm pistol, bearing serial number P10071305, and
approximately 44 rounds of assorted ammunition seized from the residence of
ALEXANDER MORALES-RIVERA located at 9XX W. Walker Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

A Glock, model 26, 9mm pistol, bearing serial number EREO04US, and
approximately 18 rounds of ammunition seized from the residence of JOMAR
LABOY-SILVA located at 5XXX N. 65" Street, Milwaukee, Wisconsin, on or
about January 15, 2020;

A Ruger, model P90, .45 caliber pistol, bearing serial number 663-90852, seized
from the residence of JOMAR LABOY-SILVA located at 5XXX N. 65" Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

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A Harrington and Richardson, model 732, .32 caliber pistol, bearing serial number
BAD13970, seized from the residence of JOMAR LABOY-SILVA located at
5XXX N. 65" Street, Milwaukee, Wisconsin, on or about January 15, 2020;

A Bushmasters, model XM15-E2S, .223 caliber rifle, bearing serial number
L524904, and approximately 29 rounds of ammunition seized from the residence of
JOMAR LABOY-SILVA located at SXXX N. 65" Street, Milwaukee, Wisconsin,
on or about January 15, 2020;

Approximately 660 rounds of assorted caliber ammunition seized from the
residence of JOMAR LABOY-SILVA located at 5X XX N. 65" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

Eleven assorted firearms magazines of assorted calibers, seized from the residence
of JOMAR LABOY-SILVA located at SXXK N. 65" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

A Glock, model 19, 9mm pistol, bearing serial number BFNC201, and
approximately 30 rounds of ammunition seized from the residence of JOSE
MANUEL GONZALEZ-COLLADO located at 6X XX N. 43 Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

Approximately 100 rounds of 9mm caliber ammunition seized from the residence
of HECTOR YAMIL RODRIGUEZ-RODRIGUEZ located at 2XXX S. 10% Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

Approximately 67 rounds of .45 caliber ammunition seized from the residence of
HECTOR YAMIL RODRIGUEZ-RODRIGUEZ located at 2XXX S. 10" Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

Approximately 31 rounds of .223 caliber ammunition seized from the residence of
HECTOR YAMIL RODRIGUEZ-RODRIGUEZ located at 2XXX S. 10" Street,
Milwaukee, Wisconsin, on or about January 15, 2020;

Approximately 6 rounds of .380 caliber ammunition seized from the residence of
JOSE M. AVILES-GONZALEZ located at 1XXX S. 6" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

Approximately 3 rounds of 38 caliber ammunition seized from the residence of
JOSE M. AVILES-GONZALEZ located at 1XXX S. 6" Street, Milwaukee,
Wisconsin, on or about January 15, 2020;

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A Glock, model 27, .40 caliber pistol, bearing serial number NWR594, seized from
the residence of JOSE M. AVILES-GONZALEZ located at 6XXX N. 43” Street,
Milwaukee, Wisconsin, on or about January 16, 2020;

Approximately 11 rounds of Winchester-Western 9mm caliber ammunition seized
from the residence of JOSE M. AVILES-GONZALEZ located at 6XXX N. 43"4
Street, Milwaukee, Wisconsin, on or about January 16, 2020;

. Approximately 11 rounds of Remington 16 caliber ammunition seized from the

residence of JOSE M. AVILES-GONZALEZ located at 6XXX N. 43” Street,
Milwaukee, Wisconsin, on or about January 16, 2020;

A Ruger, model LC-9, 9mm pistol, bearing serial number 322-4669, seized from
storage unit 5005 rented by ENID MARTINEZ located at 5XXX S. 13" Street,
Milwaukee, Wisconsin, on or about January 16, 2020;

A Glock, model 22, .40 caliber pistol, bearing serial number XPB172, seized from
storage unit 5005 rented by ENID MARTINEZ located at 5XXX S. 13 Street,
Milwaukee, Wisconsin, on or about January 16, 2020;

Approximately $7,075 in United States currency seized from the residence of
ROBERTO ORENCH-FELICIANO, located at A3 Jardines La Encantada, Afiasco,
Puerto Rico; GPS coordinates 18.296041, -67.139616 on or about January 15, 2020;

A Glock, model 26, 9mm pistol with serial number VHA326 and eleven rounds of
ammunition seized from the residence of ROBERTO ORENCH-FELICIANO,
located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS coordinates
18.296041, -67.139616 on or about January 15, 2020;

A Glock, model 19, 9mm pistol with serial number ZUD720 and six rounds of
ammunition seized from the residence of ROBERTO ORENCH-FELICIANO,
located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS coordinates
18.296041, -67.139616 on or about January 15, 2020;

A Glock, model 19, 9mm pistol with serial number BB WP434 and forty-seven (47)
rounds of ammunition seized from the residence of ROBERTO ORENCH-
FELICIANO, located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS
coordinates 18.296041, -67.139616 on or about January 15, 2020;

A Glock, model 33, .357 pistol with serial number NUC 385 and thirteen rounds of
ammunition seized from the residence of ROBERTO ORENCH-FELICIANO,

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located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS coordinates
18.296041, -67.139616 on or about January 15, 2020;

A Glock magazine, .40 seized from the residence of ROBERTO ORENCH-
FELICIANO, located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS
coordinates 18.296041, -67.139616 on or about January 15, 2020;

A Glock magazine, 9mm magazine with sixteen rounds of ammunition seized from
the residence of ROBERTO ORENCH-FELICIANO, located at A3 Jardines La
Encantada, Afiasco, Puerto Rico; GPS coordinates 18.296041, -67.139616 on or
about January 15, 2020;

. Miscellaneous jewelry, including one Michael Kors watch, one jewelry set, one

gold color necklace, one silver color necklace with tous charm, one yellow and
silver color charm, one silver color necklace with pink charm, one silver color ring,
two gold color rings, one gold color charm, one gold color necklace with red box,
three gold color necklaces with charms, one gold color bracelet with charm, and one
black color string necklace with charm, seized from the residence of ROBERTO
ORENCH-FELICIANO, located at A3 Jardines La Encantada, Afiasco, Puerto
Rico; GPS coordinates 18.296041, -67.139616 on or about January 15, 2020;

A black 2016 Ford F-250 Lariat Super Duty Platinum four-door truck with
accompanying Vehicle Identification Number (VIN) 1FT7W2BT0GEC65692 and
Puerto Rico license plate 964-094 and a Glock Switch full-automatic converter
seized from the residence of ROBERTO ORENCH-FELICIANO, located at A3
Jardines La Encantada, Afiasco, Puerto Rico; GPS coordinates 18.296041, -
67.139616 on or about January 15, 2020;

A white 27-foot Boston Whaler Outrage 270 with accompanying hull identification
PR-0853-AD/serial number US-BWCE1392J607, two 300 horsepower Mercury
engines, and one 2001 Rocket Trailer;

A white and red 2019 Honda CFR450 motorcycle with accompanying VIN
JH2PD1112KK002606 and Puerto Rico registration 259092 seized from the
residence of ROBERTO ORENCH-FELICIANO, located at A3 Jardines La
Encantada, Afiasco, Puerto Rico; GPS coordinates 18.296041, -67.139616 on or
about January 15, 2020;

A 2017 orange All-Terrain Vehicle (ATV) Apollo Motors Commander with
accompanying serial number LO8AGJ2D0J1000186 seized from the residence of
ROBERTO ORENCH-FELICIANO, located at A3 Jardines La Encantada, Afiasco,
Puerto Rico; GPS coordinates 18.296041, -67.139616 on or about January 15, 2020;

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A 2017 orange All-Terrain Vehicle (ATV) Yamaha Raptor 700 with accompanying
VIN 5VKO1I seized from the residence of ROBERTO ORENCH-FELICIANO,
located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS coordinates
18.296041, -67.139616 on or about January 15, 2020;

A 2017 orange All-Terrain Vehicle (ATV) Yamaha Raptor 700 with accompanying
VIN 2BG00 seized from the residence of ROBERTO ORENCH-FELICIANO,
located at A3 Jardines La Encantada, Afiasco, Puerto Rico; GPS coordinates
18.296041, -67.139616 on or about January 15, 2020;

Approximately $31,660 in United States currency seized from the residence of
DAVID QUINONES-QUINONES, located at Barrio Asomante, Carretera 115
Kilometer 26, H1, Aguada, Puerto Rico; GPS coordinates 18.391567, -67.167252
on or about January 15, 2020;

A Glock, model 29, 10mm pistol with serial number FNY562 and eleven rounds of
ammunition seized from the residence of DAVID QUINONES-QUINONES,
located at Barrio Asomante, Carretera 115 Kilometer 26, H1, Aguada, Puerto Rico;
GPS coordinates 18.391567, -67.167252 on or about January 15, 2020;

Two Glock magazines, seized from the residence of DAVID QUINONES-
QUINONES, located at Barrio Asomante, Carretera 115 Kilometer 26, H1, Aguada,
Puerto Rico; GPS coordinates 18.391567, -67.167252 on or about January 15, 2020;

An ammunition box containing nineteen .40 caliber rounds seized from the
residence of DAVID QUINONES-QUINONES, located at Barrio Asomante,
Carretera 115 Kilometer 26, H1, Aguada, Puerto Rico; GPS coordinates 18.391567,
-67.167252 on or about January 15, 2020;

Approximately $2,137 United States currency seized from the residence of
CARLOS OMAR CONCEPCION-RIVERA and YASHIRA CORTES-NIEVES
located at GPS coordinates 18.343204, -67.165566, Aguada, Puerto Rico on or
about January 15, 2020;

Miscellaneous jewelry, including one gold color bracelet, one gold color necklace
with cross, one gold colored necklace, three gold colored earrings, two rings, one
white necklace, and three Tissot watches seized from the residence of CARLOS
OMAR CONCEPCION-RIVERA and YASHIRA CORTES-NIEVES located at
GPS coordinates 18.343204, -67.165566, Aguada, Puerto Rico on or about January
15, 2020;

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Eight-coin set (collectible coins) LHC 2009 P&D; eight-coin set (collectible coins)
LHC P&D; two Kennedy half-dollars (collectible coins); two Native American
dollars (collectible coins); Mercury silver dime (collectible coin); Kennedy silver
50c (collectible coin); National Park quarter (collectible coin); Franklin silver 50c
(collectible coin); 1943 United States half-dollar (collectible coin); twenty-two
antique collectible coins; seven antique collectible photos; one 1820 Hispan Et Ind
collectible coin; thirteen collectible mail stamps; one pre-Colombian Taino CEMI
Sculpture; thirteen antique collectible coins, seized from the residence of CARLOS
OMAR CONCEPCION-RIVERA and YASHIRA CORTES-NIEVES located at
GPS coordinates 18.343204, -67.165566, Aguada, Puerto Rico on or about January
15, 2020;

A 2017 blue Kia Soul, bearing Puerto Rico license plate TUH-560 and VIN
KNDJP3A54H7817300 seized from the residence of CARLOS OMAR
CONCEPCION-RIVERA and YASHIRA CORTES-NIEVES located at GPS
coordinates 18.343204, -67.165566, Aguada, Puerto Rico on or about January 15,
2020;

A black 2016 Jeep Renegade bearing Puerto Rico license plate JDI-078 and VIN
ZACCJABT2GPE08950 seized from the residence of CARLOS OMAR
CONCEPCION-RIVERA and YASHIRA CORTES-NIEVES located at GPS
coordinates 18.343204, -67.165566, Aguada, Puerto Rico on or about January 15,
2020;

mmmm. Twenty-nine rounds of .40 ammunition seized from the residence of DAVID

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PPPpPp.

QUINONES-RIOS located at GPS coordinates 18.4068300, -67.173210, Aguada,
Puerto Rico;

Approximately $4,233.00 in United States currency seized from the residence of
JOSE M. AVILES-GONZALEZ located at 1XXX South 9 Street, Milwaukee,
Wisconsin on or about January 15, 2020;

Approximately $11,849.00 in United States Currency seized from the residence of
YADIER ROSARIO located at 2XX XA West Maple Street, Milwaukee, Wisconsin
on or about January 15, 2020;

Approximately $84,499.00 in United States Currency seized from the residence of
MARCOS APONTE-LEBRON and ENID MARTINEZ located at 2XXXA South
13 Street, Milwaukee, Wisconsin on or about January 15, 2020;

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qqqq. Approximately $42,634.00 in United States Currency seized from the residence of
JOSE MANUEL GONZALEZ-COLLADO and YESENIA AGOSTINI located at
6XXX North 43 Street, Milwaukee, Wisconsin on or about J anuary 15, 2020;

mr. Approximately $17,167.00 in United States Currency seized from the residence of
KEVEN TORRES-BONILLA located at 8XXX West Beloit Road, West Allis,
Wisconsin on or about January 15, 2020;

ssss. Approximately $45,103.00 in United States Currency seized from the residence of
JOSE M. AVILES-GONZALEZ located at IXXX South 6" Street, Milwaukee,
Wisconsin Apartment 201 on or about January 15, 2020;

tttt. Approximately $2,448.00 in United States Currency seized from the residence of
ANDROS MARTINEZ-PELLOT located at 5X XX North 58% Street, Milwaukee,
Wisconsin on or about January 15, 2020; and

uuuu. A money judgment in the amount of proceeds the defendants obtained, directly or
indirectly, as a result of the offense or offenses of conviction.

2. Upon conviction of the offense of conspiracy to commit money laundering,
in violation of Title 18, United States Code, Section 1956(h), set forth in Count 7 of this
Indictment, the defendants shall forfeit to the United States of America, pursuant to Title
18, United States Code, Section 982(a)(1), any property, real or personal, involved in such
offense, and any property traceable to such property, including, but not limited to, a sum
of money equal to the value of the property involved in the offense.

3. If any of the property described above, as a result of any act or omission by
a defendant: cannot be located upon the exercise of due diligence; has been transferred or
sold to, or deposited with, a third person; has been placed beyond the jurisdiction of the
Court; has been substantially diminished in value; or has been commingled with other
property which cannot be subdivided without difficulty, the United States of America shall

be entitled to forfeiture of substitute property, pursuant to Title 21, United States Code,
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Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1) and

Title 28, United States Code, Section 2461(c).

    

FOREPERSON

Dated: teh paw ANN

 

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MATTHEW D. KRUEGER
United States Attorney

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